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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                                        )
 IN RE PHARMACEUTICAL INDUSTRY                          )    MDL NO. 1456
 AVERAGE WHOLESALE PRICE                                )    Civil Action No. 01-12257-PBS
 LITIGATION                                             )    Subcategory No. 07-12141-PBS
                                                        )    Subcategory No. 03-10643-PBS
                                                        )
 THIS DOCUMENT RELATES TO:                              )
                                                        )    Judge Patti B. Saris
 State of Iowa v. Abbott Laboratories, et al.           )
                                                        )
       and                                              )
 The City of New York, et al. v. Abbott Laboratories,
                                                        )
 Inc., et al.                                           )


                           CASE MANAGEMENT ORDER NO. ___

 The case management order entered in the above-referenced cases by this Court on April 18,

2011 is modified as follows:


                                ACTION                                   DEADLINE

 Depositions of plaintiffs’ experts shall be completed.                  May 12, 2011

 Defendants shall serve expert reports and other materials in            May 27, 2011
 compliance with Fed. R. Civ. P. 26(a)(2)(B).

 Depositions of defendants’ experts shall be completed.                  July 15, 2011



All other provisions of prior case management orders remain unchanged.



SO ORDERED

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                                                            PATTI B. SARIS
                                                            U.S. DISTRICT COURT JUDGE
